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 1                                                   THE HONORABLE JAMES L. ROBART
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 3
 4
                             UNITED STATES DISTRICT COURT
 5
                            WESTERN DISTRICT OF WASHINGTON
 6                                    AT SEATTLE

 7
     UNITED STATES OF AMERICA,                     ) No. CR20-122-JLR
 8                                                 )
                    Plaintiff,                     )
 9                                                 )ORDER GRANTING
               v.                                  )UNOPPOSED MOTION TO
10                                                 )CONTINUE TRIAL DATE
     MYLES STEELE and                              )AND EXTEND PRETRIAL
11   CAMERON FERNER,                               )MOTIONS DEADLINE
                                                   )
12                  Defendants.                    )
                                                   )
13
14
            THE COURT has considered the unopposed motion of the parties to continue
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     the trial date and pretrial motions deadline and finds that:
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            (a) taking into account the exercise of due diligence, a failure to grant a
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     continuance would deny counsel for the defendants the reasonable time necessary for
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     effective preparation, due to counsel’s need for more time to review and synthesize
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     discovery, conduct investigation, perform legal research, consider possible defenses,
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     draft motions, and consult with and advise Mr. Steele and Mr. Ferner to prepare for
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     trial, as set forth in 18 U.S.C. § 3161(h)(7)(B)(iv); and
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            (b) a failure to grant such a continuance in this proceeding would likely result in
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     a miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i); and
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            (c) the additional time requested is a reasonable period of delay, as the
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     defendants have requested more time to prepare for trial, to investigate the matter, to
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     gather evidence material to the defense, and to consider possible defenses; and

                                                                    FEDERAL PUBLIC DEFENDER
       ORDER GRANTING UNOPPOSED MOTION                                 1601 Fifth Avenue, Suite 700
       TO CONTINUE TRIAL (United States v. Myles                         Seattle, Washington 98101
       Steele; CR20-122-JLR) - 1                                                    (206) 553-1100
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 1          (d) the ends of justice will best be served by a continuance, and the ends of
 2   justice outweigh the best interests of the public and the defendants in any speedier trial,
 3   as set forth in 18 U.S.C. § 3161(h)(7)(A); and
 4          (e) the additional time requested between the current trial date of October 19,
 5   2020 and the new trial date is necessary to provide counsel for the defendants the
 6   reasonable time necessary to prepare for trial, considering counsel’s schedule and all of
 7   the facts set forth above; and
 8          (f) the period of delay from the date of this order to the new trial date is
 9   excludable time pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (h)(7)(B)(iv).
10          IT IS THEREFORE ORDERED that the trial date in this matter shall be
11   continued to January 25, 2021, and that pretrial motions shall be filed no later than
12   December 10, 2020.
13          DONE this 21st day of September 2020.
14
15                                                 A
                                                   _________________________________
                                                   JAMES L. ROBART
16                                                 UNITED STATES DISTRICT JUDGE

17   Presented by:
18
     s/ Gregory Geist
19   Assistant Federal Public Defender
     Attorney for Myles Steele
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                                                                  FEDERAL PUBLIC DEFENDER
       ORDER GRANTING UNOPPOSED MOTION                               1601 Fifth Avenue, Suite 700
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